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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


IN RE: Bair Hugger Forced Air Warming                            MDL No. 15-2666 (JNE/FLN)
Products Liability Litigation


This Document Relates to                             CERTIFICATE OF SERVICE OF
                                                     PROPOSED ORDER
All Cases


I hereby certify that on December 5, 2016, I caused the following:
       Proposed Order Awarding Defendants’ Attorneys’ Fees
to be filed with the court via email to the following judge who is hearing the motion:
       Honorable Franklin L. Noel; Noel_Chambers@mnd.uscourts.gov

and I certify that I caused a copy of the proposed order to be emailed to the following:
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